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                    Exhibit H
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       Disclosure Submitted

                                                         Supervisor Review (“Level
                                                                    1”)




                                    Auto‐routing:
                               International or medical
                                   legal consulting                 Level 1
                                                                   Approval




                                  Ancillary Review                                   Ancillary Approval




                                                                Level 2 Review
                                                                (COI Program)


                                                                                       Approval with management
                                                                                               plan (End)



            Disapproval                                                                         Approval
               (End)                                                                             (End)




https://coi.ufl.edu/wordpress/files/2020/04/Visio-DOI-Process-Flow-Chart.pdf.
